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     Federal Defender
2    HANNAH R. LABAREE, #294338
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     MARTY MARCIANO BOONE
6
7                                     UNITED STATES DISTRICT COURT
8                                   EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                     )   Case No. 2:16-cr-020 TLN
                                                   )
10                           Plaintiff,            )   STIPULATION AND ORDER TO
                                                   )   CONTINUE BRIEFING SCHEDULE
11         v.                                      )
                                                   )   Date: January 18, 2018
12   MARTY MARCIANO BOONE and                      )   Time: 9:30 a.m.
     RONDA BOONE,                                  )   Judge: Hon. Troy L. Nunley
13                                                 )
                             Defendants.           )
14
15           IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
16   Attorney, through Jared Dolan Assistant United States Attorney, attorney for Plaintiff, and
17   Heather Williams, Federal Defender, through Assistant Federal Defender, Hannah R. Labaree,
18   attorneys for Marty Marciano Boone, and Ronda Boone, appearing in Pro Per, that the briefing
19   schedule be continued as follows:
20           Defendants’ reply briefs to the government’s opposition should be filed on or before
21           January 8, 2018.
22           Speedy trial time has previously been excluded until April 9, 2018 under 18 U.S.C. §
23   3161 (h)(7)(B) (iv) (Local Code T4). The parties stipulate to the exclusion of time under 18
24   U.S.C. § 3161 (h)(7)(B) (iv) (Local Code T4) for defense preparation until April 9, 2018.
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      Stipulation and Order to Continue Briefing       -1-
      Schedule
     Case 2:16-cr-00020-TLN-DB Document 83 Filed 01/04/18 Page 2 of 3


1    IT IS SO STIPULATED.                          Respectfully submitted,
2                                                  HEATHER E. WILLIAMS
                                                   Federal Defender
3
4    DATED: January 3, 2018                        /s/ Hannah R. Labaree
                                                   HANNAH R. LABAREE
5                                                  Assistant Federal Defendant
                                                   Attorney for Defendant
6                                                  MARTY MARCIANO BOONE
7
     DATED: January 3, 2018                        /s/ Ronda Boone
8                                                  RONDA BOONE
                                                   In Pro Per
9
     DATED: January 3, 2018                        MCGREGOR W. SCOTT
10                                                 United States Attorney
11
                                                   /s/ Jared Dolan
12                                                 JARED DOLAN
                                                   Assistant United States Attorney
13                                                 Attorney for Plaintiff
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      Stipulation and Order to Continue Briefing     -2-
      Schedule
     Case 2:16-cr-00020-TLN-DB Document 83 Filed 01/04/18 Page 3 of 3


1                                                      ORDER
2                The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The
4    Court finds that the ends of justice to be served by granting the trial continuance outweigh the
5    best interests of the public and defendant in a speedy trial. Under the Speedy Trial Act, pursuant
6    to 18 U.S.C. § 3161(h)(7)(B)(iv) (Local Code T4) time is excluded until April 9, 2018, the date
7    of trial.
8                It is further ordered that the briefing schedule is continued as forth above.
9
10   Dated: January 3, 2018
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                                                                Troy L. Nunley
13                                                              United States District Judge

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      Stipulation and Order to Continue Briefing          -3-
      Schedule
